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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

GRANT YODER, et al.,                                Case No. 3:17 CV 2321

       Plaintiffs,                                  Judge Jack Zouhary

       v.                                           Magistrate Judge James R. Knepp, II

CITY OF BOWLING GREEN, OHIO, et al.,

       Defendants.                                  MEMORANDUM OPINION AND ORDER  



                                        INTRODUCTION

       This is a case challenging allegedly unconstitutional zoning practices. The Court has

jurisdiction under 28 U.S.C § 1331. The district judge has referred this case to the undersigned

for general pretrial supervision. (Non-document entry dated February 20, 2018). Currently

pending before the Court is Plaintiffs’ “Motion for Leave to File Their First Amended Complaint

to Reflect Additional Case Developments.” (Doc. 12), to which Defendants have filed an

Opposition (Doc. 14). Also pending is Plaintiff’s Motion for Leave to file a Reply (Doc. 15), and

Defendants Opposition (Doc. 16). For the reasons stated below, the undersigned GRANTS

Plaintiffs’ Motion for Leave to Reply (Doc. 15) and GRANTS Plaintiffs’ Motion to Amend

(Doc. 12).

                                 PROCEDURAL BACKGROUND

       Plaintiffs Grant Yoder, Grady Wildman, Alex Kuczka, and Maurice A. Thompson,

(“Plaintiffs”) filed a Complaint on November 5, 2017. (Doc. 1). In it, they allege violations of

the Fourteenth Amendment (Due Process) and Eighth Amendment (Excessive Fines) under 42

U.S.C. § 1983. They also allege violations of the Ohio Constitution, and seek declaratory and
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injunctive relief under the Declaratory Judgment Act, 28 U.S.C. § 2201. They challenge as

unconstitutional Defendant City of Bowling Green’s zoning prohibition on leasing a single

family home to no more than three individuals, unless such individuals fall within the definition

of a “family.” Original Plaintiffs are three fraternity brothers (Yoder, Wildman, Kuczka), and the

owner of the single family home they lease (Thompson).

       The day following the filing of their Complaint, Plaintiffs filed a Motion for Temporary

Restraining Order and Preliminary Injunction. (Doc. 5). Following a phone status conference on

November 7, 2017 before the district judge, the Court noted the parties “agreed to maintain the

status quo - - specifically, Defendants will take no action against Plaintiffs - - until further order

of this Court.” (Doc. 8). The court later noted the motion for temporary restraining order and

preliminary injunction was moot. (Non-document entry dated November 30, 2017).

       On December 5, 2017, Defendants filed their Answer. (Doc. 10).

                                            DISCUSSION

       On February 5, 2018, Plaintiffs filed the pending motion for leave to file an amended

complaint. (Doc. 12). That motion seeks to add twenty-two rental property owners in the City of

Bowling Green. Id. at 1. In support of amendment, Plaintiffs first assert the Amended Complaint

states substantially identical claims, but simply adds additional Plaintiffs who are also subject to

(and harmed by) the City of Bowling Green’s zoning laws. Second, Plaintiffs assert adding the

proposed Plaintiffs promotes judicial economy because they would otherwise seek joinder or

class certification, intervene in the instant case, or file their own complaints. Third, Plaintiffs

contend adding the proposed Plaintiffs clarifies the issues for the Court. Fourth, Plaintiffs argue

Defendants have not been unduly delayed or prejudiced due to the early stage of the proceedings.




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       Defendants respond that a motion to amend is not the proper vehicle, but rather the

proposed Plaintiffs should seek to intervene via Civil Rule 24. Further, Defendants contend the

claims of both current Plaintiffs and putative plaintiffs are not ripe and they lack standing.

       Plaintiffs have also filed a Motion for Leave to Reply (Doc. 15), which Defendant

opposes (Doc. 16). In Reply, Plaintiffs assert Defendants arguments against permitting

amendment are meritless. (Doc. 15).

Leave to Amend

       Federal Civil Rule 15(a)(2) provides that “a party may amend its pleading only with the

opposing party’s written consent or the court’s leave. The court should freely give leave when

justice so requires.” Fed. R. Civ. P. 15(a)(2). Thus, courts freely permit a party to amend its

complaint,

       [i]n the absence of any apparent or declared reason—such as undue delay, bad
       faith or dilatory motive on the part of the movant, repeated failure to cure
       deficiencies by amendments previously allowed, undue prejudice to the opposing
       party by virtue of allowance of the amendment, [or] futility of amendment....

Foman v. Davis, 371 U.S. 178, 182 (1962).

       Although Defendants contend amendment is “not the proper vehicle” to add plaintiffs,

they cite no authority in support. And Plaintiffs cite authority to the contrary where courts have

permitted amendment to add additional plaintiffs with claims similar to the original. See, e.g.,

Smith v. Leis, 2009 WL 1687945, at *1-2 (S.D. Ohio); In re Norplant Contraceptive Prod. Liab.

Litig., 163 F.R.D. 255, 257 (E.D. Tex. 1995).

       Moreover, the undersigned concludes, balancing the factors above, there is no undue

delay, bad faith, or undue prejudice to Defendants in permitting amendment. This case was

originally filed in November 2017 and is still in its preliminary stages. As such, the undersigned

turns to Defendant’s argument that amendment would be futile.

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Standing / Ripeness / Futility

       The proposed Amended Complaint (Doc. 12-1) raises substantially the same claims as

the original Complaint (Doc. 1). Count One seeks Declaratory Judgment and Injunction under 28

U.S.C. § 2201, et seq. See Doc. 1, at 6-7; Doc. 12-1, at 11-12. Count Two alleges a Fourteenth

Amendment Due Process violation under 42 U.S.C. § 1983. See Doc. 1, at 7-9; Doc. 12-1, at 12-

13. Specifically, Count Two asserts a void-for-vagueness argument. See id. Count Three asserts

violations of the Ohio Constitution with regard to private property rights. See Doc. 1, at 9-10;

Doc. 12-1, at 14-15. And Count Four asserts a violation of the Excessive Fines Clause of the

Eighth Amendment under 42 U.S.C. § 1983. See Doc. 1, at 11-12; Doc. 12-1, at 15-17.

       Defendants contend the claims of both original Plaintiffs and putative plaintiffs are not

ripe, they lack standing, and thus leave to amend should be denied. Defendants also suggest “sua

sponte dismissal . . . might be appropriate.” (Doc. 14, at 11). The undersigned interprets this as

an argument that leave to amend should be denied as amendment would be futile.

       An amendment is “futile” if “the proposed amendment would not permit the complaint to

survive a motion to dismiss.” Miller v. Calhoun Cnty., 408 F.3d 803, 817 (6th Cir. 2005).

“Before granting leave to amend a complaint, a court need make only a minimal assessment of

the merits of any proposed new claims . . . Namely, it must conclude that the proposed claims are

not ‘clearly futile’ due to facial lack of merit, frivolousness, lack of jurisdiction, or other obvious

legal defect.” Marr v. Foy, 2008 WL 5111849, at *5 (W.D. Mich.) (citing Bergmoser v. Smart

Document Solutions, LLC, 268 F. App’x 392, 396 (6th Cir. 2008) (“A motion to amend is ‘futile’

if it would not withstand a Rule 12(b)(6) motion to dismiss [for failure to state a claim on which

relief can be granted].”) (citing Rose v. Hartford Underwriters Ins. Co., 203 F.3d 417, 42021

(6th Cir. 2000)); accord 6 Wright, Miller & Kane, 6 Fed. Prac. & Proc. Civ. 2d § 1487



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(Cum.Supp. Nov. 2008) (“If a proposed amendment is not clearly futile, then denial of leave to

amend is improper.”) (citing, inter alia, Consumers Petroleum Corp. v. Texaco, Inc., 804 F.2d

907 (6th Cir. 1986)). As one court explained: “The proper vehicle to address an amendment that

is subject to dismissal—but not clearly so—is a standalone motion to dismiss, rather than [in

response to] a motion for leave to amend a complaint.” United States ex rel. Griffith v. Conn,

2015 WL 8682294, at *3 (E.D. Ky.) (emphasis in original).

       Article III of the United States Constitution prescribes that federal courts may exercise

jurisdiction only where an actual “case or controversy” exists. See U.S. Const. art. III, § 2.

Courts have explained the “case or controversy” requirement through a series of “justiciability

doctrines,” including, “perhaps the most important,” that a litigant must have “standing” to

invoke the jurisdiction of the federal courts. Nat’l Rifle Ass’n of Am. v. Magaw, 132 F.3d 272,

279 (6th Cir. 1997). The Supreme Court has enumerated the following elements necessary to

establishing standing:

       First, Plaintiff must have suffered an injury in fact—an invasion of a legally-
       protected interest which is (a) concrete and particularized; and (b) actual or
       imminent, not conjectural or hypothetical. Second, there must be a causal
       connection between the injury and the conduct complained of—the injury has to
       be fairly traceable to the challenged action of the defendant, and not the result of
       the independent action of some third party not before the court. Third, it must be
       likely, as opposed to merely speculative, that the injury will be redressed by a
       favorable decision.

Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992) (internal citations and quotations

omitted). It is Plaintiffs’ burden to establish each has standing. DaimlerChrysler Corp. v. Cuno,

547 U.S. 332, 342 (2006).

       Also relevant to the issues here, a challenge based on ripeness can implicate at least two

justiciability questions: whether a “Case or Controversy” exists within the meaning of Article III

of the Constitution, and whether the plaintiff has standing to pursue the claim. Magaw, 132 F.3d

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at 279. “Ripeness requires that the injury in fact be certainly impending.” Id. at 280 (internal

quotation marks and citation omitted); Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC),

Inc., 528 U.S. 167, 190 (2000). One feature of standing is that the plaintiff demonstrate “actual

present harm or a significant possibility of future harm.” Id. at 279; see also Lujan, 504 U.S. at

560-61 (holding that Article III gives claimants standing to file a lawsuit in federal court if they

establish injury, causation, and redressability). Those issues tend to meld together when the

ripeness challenge, as here, is based on the real-versus-hypothetical nature of the threatened

injury. Thomas More Law Ctr. v. Obama, 651 F.3d 529, 537–38 (6th Cir. 2011) abrogated on

other grounds by Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519 (2012) (“Indeed if a

defendant’s ‘ripeness arguments concern only’ the ‘requirement that the injury be imminent

rather than conjectural or hypothetical’ then ‘it follows that our analysis of [the defendant’s]

standing challenge applies equally and interchangeably to its ripeness challenge.’”) (quoting

Brooklyn Legal Servs. Corp. v. Legal Servs. Corp., 462 F.3d 219, 225 (2d Cir. 2006)); see also

Duke Power Co. v. Carolina Envtl. Study Grp., Inc., 438 U.S. 59, 81 (1978) (“To the extent that

issues of ripeness involve, at least in part, the existence of a live ‘Case or Controversy,’ our

conclusion that appellees will sustain immediate injury . . . and that such injury would be

redressed by the relief requested would appear to satisfy this requirement.” (internal quotation

marks omitted)); Warth v. Seldin, 422 U.S. 490, 499 n.10 (1975) (“The standing question . . .

bears close affinity to questions of ripeness—whether the harm asserted has matured sufficiently

to warrant judicial intervention . . . .”).

        Plaintiffs seek relief under the Declaratory Judgment Act, 28 U.S.C. § 2201, which

expressly incorporates the constitutional requirement of standing: “in a case of actual

controversy within its jurisdiction . . . any court of the United States, upon the filing of an



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appropriate pleading, may declare the rights and other legal relations of any interested parties

seeking such a declaration, whether or not further relief is or could be sought.” Id. § 2201(a).

Thus, “[w]hen seeking a ruling under the Declaratory Judgment Act, [a party] must also

demonstrate standing pursuant to the statute.” Motsinger v. Nationwide Mut. Ins. Co., 920 F.

Supp. 2d 637, 642-643 (D.S.C. 2013) (addressing constitutional and Declaratory Judgment Act

standing). “[T]he phrase ‘case of actual controversy’ in the [Declaratory Judgment] Act refers to

the type of ‘Cases’ and ‘Controversies’ that are justiciable under Article III.” Medlmmune Inc. v.

Genetech, Inc., 549 U.S. 118, 126 (2007) (internal citations omitted). Thus, “[t]o establish

standing under the Declaratory Judgment Act, there must be an ‘actual controversy’ in a

constitutional sense.” Ampro Indus., Inc. v. Dr. Farrah Gray Pub., LLC, 2013 WL 5426257, * 2

(W.D. Tenn.) (relying on Magaw, 132 F.3d at 279).

       To determine whether a declaratory judgment action satisfies the case or controversy

requirement, the question is “whether the facts alleged, under all the circumstances, show that

there is a substantial controversy, between parties having adverse legal interests, of sufficient

immediacy and reality to warrant the issuance of a declaratory judgment.” Medlmmune, Inc., 549

U.S. at 127 (relying on Maryland Cas. Co. v. Pac. Coal & Oil, Co., 312 U.S. 270, 273 (1941)).

When bringing a claim under the Declaratory Judgment Act, whether a party has standing to sue,

and there exists a controversy between the parties that is ripe often “boil[s] down to the same

question.” MedImmune, Inc., 549 U.S. at 128 n.8.

       As the Supreme Court explained:

       Our analysis must begin with the recognition that, where threatened action by
       government is concerned, we do not require a plaintiff to expose himself to
       liability before bringing suit to challenge the basis for the threat—for example,
       the constitutionality of a law threatened to be enforced. The plaintiff’s own action
       (or inaction) in failing to violate the law eliminates the imminent threat of
       prosecution, but nonetheless does not eliminate Article III jurisdiction. For

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       example, in Terrace v. Thompson, 263 U.S. 197, 44 S.Ct. 15, 68 L.Ed. 255
       (1923), the State threatened the plaintiff with forfeiture of his farm, fines, and
       penalties if he entered into a lease with an alien in violation of the State’s anti-
       alien land law. Given this genuine threat of enforcement, we did not require, as a
       prerequisite to testing the validity of the law in a suit for injunction, that the
       plaintiff bet the farm, so to speak, by taking the violative action. Id., at 216, 44
       S.Ct. 15. See also, e.g., Village of Euclid v. Ambler Realty Co., 272 U.S. 365, 47
       S.Ct. 114, 71 L.Ed. 303 (1926); Ex parte Young, 209 U.S. 123, 28 S.Ct. 441, 52
       L.Ed. 714 (1908). Likewise, in Steffel v. Thompson, 415 U.S. 452, 94 S.Ct. 1209,
       39 L.Ed.2d 505 (1974), we did not require the plaintiff to proceed to distribute
       handbills and risk actual prosecution before he could seek a declaratory judgment
       regarding the constitutionality of a state statute prohibiting such distribution. Id.,
       at 458–460, 94 S.Ct. 1209. As then-Justice Rehnquist put it in his concurrence,
       “the declaratory judgment procedure is an alternative to pursuit of the arguably
       illegal activity.” Id., at 480, 94 S.Ct. 1209. In each of these cases, the plaintiff had
       eliminated the imminent threat of harm by simply not doing what he claimed the
       right to do (enter into a lease, or distribute handbills at the shopping center). That
       did not preclude subject-matter jurisdiction because the threat-eliminating
       behavior was effectively coerced. See Terrace, supra, at 215–216, 44 S.Ct. 15;
       Steffel, supra, at 459, 94 S.Ct. 1209. The dilemma posed by that coercion—
       putting the challenger to the choice between abandoning his rights or risking
       prosecution—is “a dilemma that it was the very purpose of the Declaratory
       Judgment Act to ameliorate.” Abbott Laboratories v. Gardner, 387 U.S. 136, 152,
       87 S.Ct. 1507, 18 L.Ed.2d 681 (1967).

MedImmune, Inc., 549 U.S. at 128–29.

       Here, current Plaintiff Thompson has been threatened with enforcement of the zoning

provision. See Doc. 1, at 5-6. And putative Plaintiffs Frobose and Wulff have been cited for

violations. See Doc. 12-1, at 48-49. Moreover, current Plaintiffs and putative Plaintiffs, to the

extent they have not been prosecuted, assert this is so “because the City has forced the Plaintiffs

to comply with its Dwelling Prohibition, inflicting an injury insofar as they, through such forced

compliance, are limited to leasing spacious homes to three or less individuals.” (Doc. 15-1, at 4).

And the Amended Complaint asserts that each landlord-Plaintiff owns at least one home that

contains greater than three bedrooms, and is subject to the zoning restriction, and “desires to

lease at least one [such] home to four or more unrelated individuals who are on the same lease.”

(Doc. 12-1, at 6). The undersigned therefore finds the Complaint, and Amended Complaint,

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assert sufficient facts to show “under all the circumstances . . . that there is a substantial

controversy, between parties having adverse legal interests, of sufficient immediacy and reality

to warrant the issuance of a declaratory judgment.” Medlmmune, Inc., 549 U.S. at 127.1 That is,

there is a sufficiently immediate injury, caused by Defendants, that would be redressed by the

relief requested.

              Next, Defendants assert the tenant-Plaintiffs (Yoder, Wildman, and Kuczka) lack

standing because “they cannot demonstrate an injury was sustained, that the defendants caused

the injury, and lastly, that the defendants can redress the injury.” (Doc. 14, at 8). Defendants

assert that “the students’ potential problem [in being forced to move] would not be proximately

caused by the City’s enforcement of the zoning code, but by the landlord in forcing all, some, or

one to move, with the landlord’s interests being adverse to the tenant’s interests.” Id. The

undersigned concludes, however, that the tenant-Plaintiffs have sufficiently demonstrated an

injury (having to move if their landlord is cited/fined), caused (albiet indirectly) by Defendants,

that would be redressed with the relief requested under the Declaratory Judgment Act. See, e.g.,

United States v. Students Challenging Regulatory Agency Procedures (SCRAP), 412 U.S. 669,

689 (1987) (indirect “attenuated line of causation to the eventual injury” was sufficient to satisfy

standing requirements at the pleading stage).

              As noted above, leave to amend is to be “freely given”, Fed. R. Civ. P. 15(a)(2), and the

other factors relative to amendment weigh in favor of permitting amendment here. And, having

reviewed the proposed Amended Complaint and concluded amendment is not clearly futile,

                                                            
1. Further, the undersigned notes that, to the extent Defendants’ Response asserts disputes with
the underlying factual basis of Plaintiffs’ Complaint and Amended Complaint, see Doc. 14, at 9-
11 (asserting some putative Plaintiffs do not own property in Bowling Green based on public
records), such arguments are premature at this stage. On its face, Plaintiff’s Amended Complaint
asserts each proposed Plaintiff owns affected properties within Bowling Green, see Doc. 12-1, at
4-6.
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Plaintiffs’ Motion for Leave to amend will be granted. Defendant remains free, of course, to

challenge the Amended Complaint by way of a dispositive motion. To the extent Defendants

assert any Plaintiffs’ claims lack merit based on the facts and additional evidence outside the

record, the Court concludes such arguments are also premature in responding to a motion to

amend the complaint.

                                        CONCLUSION

       For the reasons stated above, the undersigned GRANTS Plaintiffs’ Motion for Leave

(Doc. 15) and GRANTS Plaintiffs’ Motion to Amend (Doc. 12).



                                           s/James R. Knepp II
                                           United States Magistrate Judge




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